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                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND

          CHAMBERS OF                                                           101 WEST LOMBARD STREET
    STEPHANIE A. GALLAGHER                                                     BALTIMORE, MARYLAND 21201
  UNITED STATES DISTRICT JUDGE                                                        (410) 962-7780
MDD_SAGchambers@mdd.uscourts.gov




                                                          June 22, 2023



    LETTER TO COUNSEL

          Re:   U.S.A. v. Daniel Williams
                Criminal Case No. SAG-19-0486

    Dear Counsel:

            This is to confirm that the retrial of this case has been scheduled to commence on February
    5, 2024 at 9:30 a.m. The 10-day jury trial shall be continuous including Fridays. Any supplements
    to the joint voir dire, verdict sheet, and jury instructions are due by December 22, 2023. An in-
    person pretrial conference has been set for January 19, 2024 at 9:30 a.m.

           Despite the informal nature of this letter, it is an Order of the Court and will be docketed
    as such.

                                                         Sincerely yours,

                                                                /s/

                                                         Stephanie A. Gallagher
                                                         United States District Judge
